              Case 18-12591-JDW                           Doc 10           Filed 07/20/18 Entered 07/20/18 19:39:12                                                  Desc Main
                                                                          Document     Page 1 of 60
 Fill in this information to identify your case:

 Debtor 1                   Antonio Barragan
                            First Name                           Middle Name                          Last Name

 Debtor 2                   Erica L Barragan
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  NORTHERN DISTRICT OF MISSISSIPPI

 Case number           18-12591
 (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $             225,000.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $             124,858.00

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $             349,858.00

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $             276,946.04

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $              15,561.39

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $             329,036.57


                                                                                                                                     Your total liabilities $               621,544.00


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $                8,477.00

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                6,099.30

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
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 Debtor 2      Erica L Barragan                                                           Case number (if known) 18-12591

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                             $


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $                 0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $            15,561.39

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                 0.00

       9d. Student loans. (Copy line 6f.)                                                                 $                 0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $                 0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                 0.00


       9g. Total. Add lines 9a through 9f.                                                           $             15,561.39




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                      page 2 of 2
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 Fill in this information to identify your case and this filing:

 Debtor 1                    Antonio Barragan
                             First Name                                 Middle Name                    Last Name

 Debtor 2                    Erica L Barragan
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      NORTHERN DISTRICT OF MISSISSIPPI

 Case number            18-12591                                                                                                                                 Check if this is an
                                                                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                                     12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                            What is the property? Check all that apply

                                                                                       Single-family home                         Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description
                                                                                       Duplex or multi-unit building              the amount of any secured claims on Schedule D:
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative

                                                                                       Manufactured or mobile home
                                                                                                                                  Current value of the      Current value of the
                                                    00000-0000                         Land                                       entire property?          portion you own?
        City                              State              ZIP Code                  Investment property                               $225,000.00                $225,000.00
                                                                                       Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                       Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                       Debtor 1 only                              Fee Simple
                                                                                       Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                       At least one of the debtors and another         (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:
                                                                                123-A File Road, Batesville MS together with 3000 sq ft home, attached
                                                                                garage & 18 x 32 metal barn


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                      $225,000.00

 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                                  Schedule A/B: Property                                                                   page 1
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3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1    Make:                                                 Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:                                                      Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:                                                       Debtor 2 only                                            Current value of the      Current value of the
         Approximate mileage:                                        Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         2016 Chevy Tahoe: over 34,000
         miles                                                       Check if this is community property                              $43,717.50                 $43,717.50
                                                                     (see instructions)



  3.2    Make:                                                 Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:                                                      Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:                                                       Debtor 2 only                                            Current value of the      Current value of the
         Approximate mileage:                                        Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         2014 Hyundai Sonata: over
         97,000 miles                                                Check if this is community property                              $11,227.50                 $11,227.50
                                                                     (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                 $54,945.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                    Household goods of furniture, appliances, pots, pans, dishes,
                                    flatware, silverware, linens, rugs, lamps, shades, luggage,
                                    lawnmowers, hand tools, yard work tools, grills, etc.                                                                           $4,000.00


                                    loveseat, sofa, queen bed, full bed                                                                                             $1,350.00


                                    buffett, 2 dressers, 2 nightstands, desk and chair, side table,
                                    electric fireplace                                                                                                                $500.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No

Official Form 106A/B                                                       Schedule A/B: Property                                                                         page 2
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        Yes. Describe.....

                                    56" HD tv, 48" HD tv, 48" HD tv, 3 36" HD tvs, dvd player, desktop,
                                    printer, 2 laptops, 2 kindles, 2 tablets (each separate item is worth
                                    less than $200.00)                                                                                           $1,500.00


                                    70" HD Smart tv                                                                                                $300.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
      No
        Yes. Describe.....

                                    miscellaneous pictures, picture albums, picture frames, mirrors,
                                    etc.                                                                                                           $150.00


                                    large library of books (over 100)                                                                              $250.00


                                    4 pottery items                                                                                                $160.00


9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
     No
        Yes. Describe.....

                                    1 bicycle                                                                                                          $5.00


                                    2 sets of boxing gloves                                                                                          $20.00


10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No
        Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....

                                    personal clothing                                                                                              $200.00


                                    personal clothing                                                                                              $100.00


                                    children's clothes                                                                                             $200.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
        Yes. Describe.....


Official Form 106A/B                                                   Schedule A/B: Property                                                          page 3
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                                            miscellaneous items of costume jewelry                                                                                         $20.00


                                            wedding ring                                                                                                                   $40.00


                                            wedding ring                                                                                                                 $800.00


                                            double string of pearls                                                                                                        $75.00


                                            pandora braclet                                                                                                                $50.00


                                            gold ring                                                                                                                      $40.00


                                            watch                                                                                                                          $25.00


                                            white gold ring                                                                                                                $25.00


                                            gold chain                                                                                                                   $150.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
     No
        Yes. Describe.....

                                            cat                                                                                                                              $0.00


14. Any other personal and household items you did not already list, including any health aids you did not list
     No
        Yes. Give specific information.....

                                            eyeglasses                                                                                                                       $0.00


                                            crutches                                                                                                                         $0.00



 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                            $9,960.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                             Current value of the
                                                                                                                                                         portion you own?
                                                                                                                                                         Do not deduct secured
                                                                                                                                                         claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
        Yes................................................................................................................



Official Form 106A/B                                                                       Schedule A/B: Property                                                            page 4
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                                                                                                                     Cash                                      $50.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:


                                          17.1.    Checking                     Regions Bank (negative balance)                                                  $0.00



                                          17.2.    Checking                     Guaranty Bank                                                                    $3.00



                                          17.3.    Savings                      Red River Federal Credit Union                                               $100.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
        Yes..................                     Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
        No
        Yes. Give specific information about them...................
                                   Name of entity:                                                                 % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
        No
        Yes. List each account separately.
                                Type of account:                                Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
        Yes. .....................                                              Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...

Official Form 106A/B                                                     Schedule A/B: Property                                                                  page 5
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26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them...

 Money or property owed to you?                                                                                                     Current value of the
                                                                                                                                    portion you own?
                                                                                                                                    Do not deduct secured
                                                                                                                                    claims or exemptions.

28. Tax refunds owed to you
      No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



                                                         2018 federal tax refund and refunds for all
                                                             subsequent years, when received                                                      Unknown


                                                         2018 state tax refund and refunds for all
                                                             subsequent years, when received                                                      Unknown


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
      No
        Yes. Give specific information......


                                                         Child Support arrears due from Keith
                                                             Wooten in the approx amount of
                                                             $6000.00                                          Child Support                            $0.00


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
        No
        Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
      No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                  Beneficiary:                         Surrender or refund
                                                                                                                                     value:

                                         Term Life Insurance through Midland
                                         National                                               Miriam Wooten                                           $0.00


                                         Auto Insurance through Foremost                        N/A                                                     $0.00


                                         Homeowner's Insurance through
                                         Foremost                                               NA                                                      $0.00



Official Form 106A/B                                                   Schedule A/B: Property                                                           page 6
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32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................                 $153.00


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.

       Yes. Go to line 38.


                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.

38. Accounts receivable or commissions you already earned
        No
        Yes. Describe.....


39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
        No
        Yes. Describe.....


40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade
     No
        Yes. Describe.....


                                        See Exhibit "B"                                                                                                                      $15,000.00


                                        See Exhibit "C"                                                                                                                      $15,000.00


                                        See Exhibit "A"                                                                                                                      $25,000.00


                                        See Exhibit "D"                                                                                                                        $4,000.00



Official Form 106A/B                                                           Schedule A/B: Property                                                                                page 7
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41. Inventory
      No
        Yes. Describe.....


                                        perishable food products                                                                                                                 $800.00


42. Interests in partnerships or joint ventures
        No
        Yes. Give specific information about them...................
                                   Name of entity:                                                                                 % of ownership:


43. Customer lists, mailing lists, or other compilations
       No.
       Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?


                  No
                  Yes. Describe.....


44. Any business-related property you did not already list
        No
        Yes. Give specific information.........



 45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
     for Part 5. Write that number here.....................................................................................................................              $59,800.00

 Part 6:     Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
             If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.

           Yes. Go to line 47.

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.

47. Farm animals
     Examples: Livestock, poultry, farm-raised fish
      No
        Yes................


                                      2 horses                                                                                                                                       $0.00


48. Crops—either growing or harvested
        No
        Yes. Give specific information.....


49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
        No
        Yes................




Official Form 106A/B                                                           Schedule A/B: Property                                                                                page 8
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50. Farm and fishing supplies, chemicals, and feed
        No
        Yes................

51. Any farm- and commercial fishing-related property you did not already list
        No
        Yes. Give specific information.....



 52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
     for Part 6. Write that number here .....................................................................................................................                      $0.00


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                          $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................                 $225,000.00
 56. Part 2: Total vehicles, line 5                                                                           $54,945.00
 57. Part 3: Total personal and household items, line 15                                                       $9,960.00
 58. Part 4: Total financial assets, line 36                                                                     $153.00
 59. Part 5: Total business-related property, line 45                                                         $59,800.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
 61. Part 7: Total other property not listed, line 54                                             +                $0.00

 62. Total personal property. Add lines 56 through 61...                                                    $124,858.00               Copy personal property total             $124,858.00

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                           $349,858.00




Official Form 106A/B                                                               Schedule A/B: Property                                                                               page 9
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                                    EXHIBIT “A”
                                        INVENTORY LIST

Individual Lettered Bim Bam                    36 Chairs
   Burgers & Wings Signage                     4 High Chairs
Milk Shake Neon                                3 Filtration Cones
Bim Bam Burgers Led Sign                       3 40 Qt Pots
Wooden Garbage Bins                            12 Knives
16’ Walkin Cooler/freezer                      6 Whisks
2 Pos Stations                                 6 Spatulas
1 22” Mac Computer                             3 Cutting Boards
6 Security Cameras                             16 Baine Marrie Contatianers
1 16” Monitor                                  Heavy Duty Water Hose
1 Alarm System                                 2 Mop Buckets
2 50 Inch Screen Tvs                           3 Bubble Gum/candy Vending Machines
3 36” Menu Tv Screens                          1 Large Sentry Safe
1 Soft Serve Machines                          3 Metal Wire Rack Shelves
1 24 Flavor Milk Shake Mixer                   4 Meat Press
2 One Glass Door Coolers                       1 Coca Cola Fountain Drink Machine
1 Two Door Stainless Steel Cooler              1 4 Foot Stainless Steel Prep Table
1 24” Sandwich Prep Table                      1 Tea Machine
1 4’ Sliding Glass Chess Type Freezer          2 Tea Urns
2 6’ Stainless Steel Prep Tables               2 Crock Pots
1 Three Compartment Sink                       2 Stationary Phones
1 500 Lb Ice Maker                             1 Cordless Phone
1 50 Inch Thermostatic Flat Grill              1 Ladder
3 Fourty Lb Fryers                             1 Step Ladder
2 Heat Lamps                                   1 Hand Sink
1 Three Foot Prep Table                        16 Storage Bins
1 Kitchen Reciept Printer
2 Credit Card Processing Machines
2 Ipad Tablets for Online Ordering
1 Mop Sink
1 Four Drawer Filing Cabinete
1 Cannon Printer
1 Honda Pressure Washer
1 16’ Vent a Hood
1 Exhaust Fan
1 Return Air
12 Seating Booths
16 Tables
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                                        EXHIBIT “B”
                                         INVENTORY LIST

1 8’ Boxed Bim Bam Burgers Sign                 2 Crock Pots
2 Neon Burger Signs                             2 40 Qt Pots
1 Street Sign 3x4                               1 Filtration Cone
1 Bubble Gum Candy Machine                      6 Spatulas
2 High Chairs                                   4 Burger Press
1 Coca Cola Machine                             1 Alarm System
500 Lb Ice Maker                                5 Camera Security System
Hp Printer                                      16” Monitor
2 Pos Stations                                  6 Spoodles
2 Credit Card Processing Machines               12 Knives
2 Tea Urns                                      3 Cuttting Boards
1 Tea Machine                                   6 Whisks
1 Single Glass Door Cooler                      16 Baine Marrie Containers
1 Mini Ole Miss Fridge                          60” Tv
3 6 Foot Stainless Steel Tables                 2 40 Inch Tvs
1 3 Compartment Sink                            3 38 Inch Menu Screen Tvs
1 Mop Sink                                      Exaust Fan
2 Mop Buckets                                   Return Air
1 Heavy Duty Water Hose                         11 Tables
1 Large Sentry Safe                             45 Chairs
1 4 Foot Stainless Steel Prep Table             1 Coffee Maker
1 Electro Freeze Soft Serve Machine             1 Kitchen Printer
1 24 Flavor Milk Shake Mixer                    1 Stationary Phone
1 Step Ladder                                   1 Cordless Phone
1 6 Foot Wire Rack Shelving                     16 Storage Bins
1 Hanwash Sink
2 Wood Grain Garbage Containers
2 Hot Holding Food Warmers
1 Heat Lamp
2 50 Lb Fryers
1 60” Flat Grill
1 6 Foor Vent a Hood
2 2.5 Foot Equipment Tables
1 Commercial Refrigerator
1 Single Door Stainless Steel Freezer
1 Stainless Steel 2 Door Cooler
1 Stainless Steel 3 Door Freezer
1 5 Foot Stainless Steel Prep Table
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                                    EXHIBIT “C”
                                      INVENTORY LIST

4 Booths                                      20 Knives
18 Tables                                     100 Forks, Knives and Spoons
64 Chairs                                     200 Plates, Bowls and Salad Plates
1 Neon Open Sign                              100 Serving Trays
4 50’’ Screen Tvs                             75 Coffee Cups
2 39’’ Menu Tvs                               200 Drinking Cups
1 Phone                                       30 Full Size Pans
1 Cordless Phone                              15 ½ Size Pans
1 Dessert Display Box                         15 1/3 Size Pans
1 Pos System                                  1 20 Cubic Foot Chest Type Freezer
1 Kitchen Printer                             6 Security Cameras
1 Credit Card Proccessing Machine             1 19’’ Monitor
1 8’ Heating Table                            1 Alarm System
1 4’ Salad Bar                                1 Sterio Sound System
Coke Drink Machine                            2 3 Spindle Milkshake Mixers
1 Coffe Machine                               16 Storage Bins
1 Nescafe Coffee Machine
1 Tea Machine
2 Tea Urns
1 10’ Walk Inn Cooler
2 2’ Charbroilers
1 2’ Flat Grill
1 8 Burner Range with Double Oven
4 40 Lb Fryers
1 4’ Double Deck Pizza Oven
1 Automatic Dish Washer
1 Hand Sink
1 3 Compartment Sink
1 Prep Sink
1 Heavy Duty Hose
2 Mop Buckets
4 4’ Stainless Steel Prep Table
1 4’ Heat Lamp
1 3’ Stainless Steel Sandwich Prep Table
1 2.5’ Stainless Steel Sandwich Prep Table
2 Commercial Upright Freezers
1 48’’ Low Boy Cooler Equipment Stand
5 6’ Wire Rack Shelves
50 Serving Spoons
6 46 Qt Pots
5 12 Qt Sauce Pans
6 Skilletts
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                                        EXHIBIT “D”
                                           INVENTORY LIST

1 16’ Bench
4 Tables
16 Chairs
1 Gas Heater
4 Heat/cooling Window Units
1 Prep Sink
1 3 Door Stainless Steel Cooler
1 Door Stainless Steel Freezer
1 20 Cubic Foot Chest Type Freezer
1 Mop Bucket
3 4’ Prep Table
1 2.5’ Prep Table
1 Neon Open Sign
1 Pos System
1 Credit Card Processing Machine
1 Kitchen Printer
1 Ceiling Fan
1 2’ Sliding Glass Door Chest Type Freezer
1 Soft Serve Ice Cream Machine
1 24 Flavor Milkshake Mixer
1 Commercial Microwave
1 Blender
1 Phone
1 Cordless Phone
1 4 Burner Range/24 Inch Flat Grill/double Oven
Combo
1 40 Lb Fryer
1 3’ Sandwich Prep Table
1 Hand Sink
3 36 Qt Pots
4 12 Qt Pans
4 Spatulas
6 Crock Pots
2 Steam Table Warmers
12 Small Storage Containers
8 Storage Bins
              Case 18-12591-JDW                       Doc 10           Filed 07/20/18 Entered 07/20/18 19:39:12                             Desc Main
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 Fill in this information to identify your case:

 Debtor 1                 Antonio Barragan
                          First Name                        Middle Name                 Last Name

 Debtor 2                 Erica L Barragan
 (Spouse if, filing)      First Name                        Middle Name                 Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF MISSISSIPPI

 Case number           18-12591
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      123-A File Road, Batesville MS                                 $225,000.00                                               Miss. Code Ann. § 85-3-21
      together with 3000 sq ft home,
      attached garage & 18 x 32 metal barn                                                 100% of fair market value, up to
      Line from Schedule A/B: 1.1                                                          any applicable statutory limit


      Household goods of furniture,                                    $4,000.00                                 $4,000.00     Miss. Code Ann. § 85-3-1(a)
      appliances, pots, pans, dishes,
      flatware, silverware, linens, rugs,                                                  100% of fair market value, up to
      lamps, shades, luggage,                                                              any applicable statutory limit
      lawnmowers, hand tools, yard work
      tools, grills, etc.
      Line from Schedule A/B: 6.1

      56" HD tv, 48" HD tv, 48" HD tv, 3 36"                           $1,500.00                                 $1,500.00     Miss. Code Ann. § 85-3-1(a)
      HD tvs, dvd player, desktop, printer,
      2 laptops, 2 kindles, 2 tablets (each                                                100% of fair market value, up to
      separate item is worth less than                                                     any applicable statutory limit
      $200.00)
      Line from Schedule A/B: 7.1

      70" HD Smart tv                                                     $300.00                                  $300.00     Miss. Code Ann. § 85-3-1(a)
      Line from Schedule A/B: 7.2
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 4
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 Debtor 1    Antonio Barragan
 Debtor 2    Erica L Barragan                                                                            Case number (if known)     18-12591
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     miscellaneous pictures, picture                                     $150.00                                   $150.00        Miss. Code Ann. § 85-3-1(a)
     albums, picture frames, mirrors, etc.
     Line from Schedule A/B: 8.1                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     large library of books (over 100)                                   $250.00                                   $250.00        Miss. Code Ann. § 85-3-1(a)
     Line from Schedule A/B: 8.2
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     4 pottery items                                                     $160.00                                   $160.00        Miss. Code Ann. § 85-3-1(a)
     Line from Schedule A/B: 8.3
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     1 bicycle                                                              $5.00                                     $5.00       Miss. Code Ann. § 85-3-1(a)
     Line from Schedule A/B: 9.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     2 sets of boxing gloves                                              $20.00                                    $20.00        Miss. Code Ann. § 85-3-1(a)
     Line from Schedule A/B: 9.2
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     personal clothing                                                   $200.00                                   $200.00        Miss. Code Ann. § 85-3-23
     Line from Schedule A/B: 11.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     personal clothing                                                   $100.00                                   $100.00        Miss. Code Ann. § 85-3-1(a)
     Line from Schedule A/B: 11.2
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     children's clothes                                                  $200.00                                   $200.00        Miss. Code Ann. § 85-3-1(a)
     Line from Schedule A/B: 11.3
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     miscellaneous items of costume                                       $20.00                                    $20.00        Miss. Code Ann. § 85-3-1(a)
     jewelry
     Line from Schedule A/B: 12.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     wedding ring                                                         $40.00                                    $40.00        Miss. Code Ann. § 85-3-1(a)
     Line from Schedule A/B: 12.2
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     wedding ring                                                        $800.00                                   $550.00        Miss. Code Ann. § 85-3-1(a)
     Line from Schedule A/B: 12.3
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 4
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 Debtor 1    Antonio Barragan
 Debtor 2    Erica L Barragan                                                                            Case number (if known)     18-12591
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     wedding ring                                                        $800.00                                   $250.00        Miss. Code Ann. § 85-3-23
     Line from Schedule A/B: 12.3
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     double string of pearls                                              $75.00                                    $75.00        Miss. Code Ann. § 85-3-1(a)
     Line from Schedule A/B: 12.4
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     pandora braclet                                                      $50.00                                    $50.00        Miss. Code Ann. § 85-3-1(a)
     Line from Schedule A/B: 12.5
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     gold ring                                                            $40.00                                    $40.00        Miss. Code Ann. § 85-3-1(a)
     Line from Schedule A/B: 12.6
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     watch                                                                $25.00                                    $25.00        Miss. Code Ann. § 85-3-1(a)
     Line from Schedule A/B: 12.7
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     white gold ring                                                      $25.00                                    $25.00        Miss. Code Ann. § 85-3-1(a)
     Line from Schedule A/B: 12.8
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     gold chain                                                          $150.00                                   $100.00        Miss. Code Ann. § 85-3-1(a)
     Line from Schedule A/B: 12.9
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     gold chain                                                          $150.00                                    $50.00        Miss. Code Ann. § 85-3-23
     Line from Schedule A/B: 12.9
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Cash                                                                 $50.00                                    $50.00        Miss. Code Ann. § 85-3-1(a)
     Line from Schedule A/B: 16.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     2018 federal tax refund and refunds                               Unknown                                 $10,000.00         Miss. Code Ann. § 85-3-1(j)
     for all subsequent years, when
     received                                                                              100% of fair market value, up to
     Line from Schedule A/B: 28.1                                                          any applicable statutory limit

     2018 state tax refund and refunds for                             Unknown                                 $10,000.00         Miss. Code Ann. § 85-3-1(k)
     all subsequent years, when received
     Line from Schedule A/B: 28.2                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 3 of 4
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 Debtor 1    Antonio Barragan
 Debtor 2    Erica L Barragan                                                                            Case number (if known)     18-12591
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     See Exhibit "B"                                                  $15,000.00                               $12,340.00         Miss. Code Ann. § 85-3-1(a)
     Line from Schedule A/B: 40.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 4 of 4
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 Fill in this information to identify your case:

 Debtor 1                   Antonio Barragan
                            First Name                      Middle Name                      Last Name

 Debtor 2                   Erica L Barragan
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF MISSISSIPPI

 Case number           18-12591
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     Acceptance Now                           Describe the property that secures the claim:                   $2,573.00                $1,350.00           $1,223.00
         Creditor's Name                          loveseat, sofa, queen bed, full bed

                                                  As of the date you file, the claim is: Check all that
         5501 Headquarters Drive                  apply.
         Plano, TX 75024                              Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)

       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)   Purchase Money Lien
       community debt

 Date debt was incurred          3/12/2018                 Last 4 digits of account number        2121

 2.2     First Heritage Credit                    Describe the property that secures the claim:                     $797.40                   $500.00             $297.40
         Creditor's Name                          buffett, 2 dressers, 2 nightstands,
                                                  desk and chair, side table, electric
                                                  fireplace
                                                  As of the date you file, the claim is: Check all that
         454 Hwy 6 E                              apply.
         Batesville, MS 38606                         Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)

       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)   Purchase Money Lien
       community debt

 Date debt was incurred                                    Last 4 digits of account number



Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 3
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 Debtor 1 Antonio Barragan                                                                                    Case number (if know)   18-12591
               First Name                  Middle Name                      Last Name
 Debtor 2 Erica L Barragan
               First Name                  Middle Name                      Last Name



 2.3     Mechanics Bank                             Describe the property that secures the claim:                  $173,000.00         $225,000.00             $0.00
         Creditor's Name                            123-A File Road, Batesville MS
                                                    together with 3000 sq ft home,
                                                    attached garage & 18 x 32 metal
                                                    barn
                                                    As of the date you file, the claim is: Check all that
         P.O. Box 707                               apply.
         Water Valley, MS 38965                          Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Mortgage
       community debt

 Date debt was incurred                                      Last 4 digits of account number


 2.4     Mechanics Bank                             Describe the property that secures the claim:                   $24,982.00          $25,000.00             $0.00
         Creditor's Name                            See Exhibit "A"

                                                    As of the date you file, the claim is: Check all that
         P.O. Box 707                               apply.
         Water Valley, MS 38965                          Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   NPMSI (no ucc filed)
       community debt

 Date debt was incurred                                      Last 4 digits of account number


 2.5     MS Dept. of Revenue                        Describe the property that secures the claim:                     $2,888.35         $95,078.00             $0.00
         Creditor's Name                            equity in all property

         Bankruptcy Section
                                                    As of the date you file, the claim is: Check all that
         P O Box 22808                              apply.
         Jackson, MS 39225-2808                          Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 3
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 Debtor 1 Antonio Barragan                                                                                    Case number (if know)   18-12591
               First Name                  Middle Name                      Last Name
 Debtor 2 Erica L Barragan
               First Name                  Middle Name                      Last Name


         Red River Federal Credit
 2.6                                                                                                                $58,105.29           $43,717.50      $14,387.79
         Union                                      Describe the property that secures the claim:
         Creditor's Name                            2016 Chevy Tahoe: over 34,000
                                                    miles
                                                    As of the date you file, the claim is: Check all that
         P.O. Box 3261                              apply.
         Shreveport, LA 71133                            Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Purchase Money Auto Lien
       community debt

 Date debt was incurred          6/2017                      Last 4 digits of account number


         Wells Fargo Dealer
 2.7                                                                                                                $14,600.00           $11,227.50       $3,372.50
         Services                                   Describe the property that secures the claim:
         Creditor's Name                            2014 Hyundai Sonata: over 97,000
                                                    miles
                                                    As of the date you file, the claim is: Check all that
         P.O. Box 1697                              apply.
         Winterville, NC 28590                           Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Purchase Money Auto Lien
       community debt

 Date debt was incurred          8/29/2015                   Last 4 digits of account number         4635


   Add the dollar value of your entries in Column A on this page. Write that number here:                                  $276,946.04
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                                 $276,946.04

 Part 2:     List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 3 of 3
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              Case 18-12591-JDW                         Doc 10          Filed 07/20/18 Entered 07/20/18 19:39:12                                            Desc Main
                                                                      Document      Page 23 of 60
 Fill in this information to identify your case:

 Debtor 1                     Antonio Barragan
                              First Name                    Middle Name                        Last Name

 Debtor 2                     Erica L Barragan
 (Spouse if, filing)          First Name                    Middle Name                        Last Name


 United States Bankruptcy Court for the:                NORTHERN DISTRICT OF MISSISSIPPI

 Case number           18-12591
 (if known)                                                                                                                                               Check if this is an
                                                                                                                                                          amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
           No. Go to Part 2.

           Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim          Priority               Nonpriority
                                                                                                                                             amount                 amount
 2.1          MS Dept. of Revenue                                    Last 4 digits of account number                        $15,561.39             $14,100.54               $1,460.85
              Priority Creditor's Name
              Bankruptcy Section                                     When was the debt incurred?
              P O Box 22808
              Jackson, MS 39225-2808
              Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only                                             Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

              At least one of the debtors and another                   Domestic support obligations

              Check if this claim is for a community debt               Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
              No                                                        Other. Specify
              Yes                                                                        sales tax

 Part 2:        List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

           No. You have nothing to report in this part. Submit this form to the court with your other schedules.

           Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                   Page 1 of 8
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 Debtor 1 Antonio Barragan
 Debtor 2 Erica L Barragan                                                                                Case number (if know)         18-12591

                                                                                                           misc
 4.1      Capital One                                                Last 4 digits of account number       accounts                                             $2,943.05
          Nonpriority Creditor's Name
          P.O. Box 30281                                             When was the debt incurred?
          Salt Lake City, UT 84130-0281
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   credit card purchases


 4.2      Credit One Bank                                            Last 4 digits of account number       4057                                                 $1,006.51
          Nonpriority Creditor's Name
          P.O. Box 60500                                             When was the debt incurred?
          City Of Industry, CA 91716-0500
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   credit card purchases


 4.3      Frank Balton Sign Company                                  Last 4 digits of account number                                                            $3,700.00
          Nonpriority Creditor's Name
          5385 Pleasant View Road                                    When was the debt incurred?
          Memphis, TN 38134
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Services




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                          Page 2 of 8
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 Debtor 1 Antonio Barragan
 Debtor 2 Erica L Barragan                                                                                Case number (if know)         18-12591

 4.4      Jan Williams                                               Last 4 digits of account number                                                            $1,626.00
          Nonpriority Creditor's Name
          131 Public Square                                          When was the debt incurred?
          Batesville, MS 38606
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   back utilities and rent


 4.5      Macy's                                                     Last 4 digits of account number                                                              $598.87
          Nonpriority Creditor's Name
          Bankruptcy Processing                                      When was the debt incurred?
          P.O. Box 8053
          Mason, OH 45040
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   credit card purchases


 4.6      Marlin Business Services Corp                              Last 4 digits of account number       9001                                               $19,513.43
          Nonpriority Creditor's Name
          c/o Edward R. Dietz, Esq                                   When was the debt incurred?
          300 Fellowship Road
          Mount Laurel, NJ 08054
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   judgment




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                          Page 3 of 8
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 Debtor 1 Antonio Barragan
 Debtor 2 Erica L Barragan                                                                                Case number (if know)         18-12591

 4.7      Pawnee Leasing Corporation                                 Last 4 digits of account number                                                          $32,666.66
          Nonpriority Creditor's Name
          3801 Automation Way No. 207                                When was the debt incurred?
          Fort Collins, CO 80525
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   judgment


 4.8      Performance Food Group, Inc.                               Last 4 digits of account number                                                          $82,900.47
          Nonpriority Creditor's Name
          PO Box 29269                                               When was the debt incurred?
          Richmond, VA 23242
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Supplier


 4.9      Southern BBQ                                               Last 4 digits of account number                                                          $30,000.00
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?
          address unknown
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   broken agreement




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                          Page 4 of 8
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 Debtor 1 Antonio Barragan
 Debtor 2 Erica L Barragan                                                                                Case number (if know)         18-12591

 4.1      Stewart Enviromental Construction,
 0        Inc.                                                       Last 4 digits of account number                                                          $27,657.07
          Nonpriority Creditor's Name
          2488 Mitchell Road                                         When was the debt incurred?
          Tupelo, MS 38801
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   judgment


 4.1
 1        Synchrony Bank // Belk                                     Last 4 digits of account number                                                              $962.52
          Nonpriority Creditor's Name
          Attn Bankruptcy Dept                                       When was the debt incurred?
          PO Box 965060
          Orlando, FL 32896
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   credit card purchases


 4.1
 2        Sysco Memphis, LLC                                         Last 4 digits of account number                                                          $16,595.68
          Nonpriority Creditor's Name
          4359 B.F. Goodrich, Blvd                                   When was the debt incurred?
          Memphis, TN 38118
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Supplier




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                          Page 5 of 8
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 Debtor 1 Antonio Barragan
 Debtor 2 Erica L Barragan                                                                                Case number (if know)         18-12591

 4.1
 3         T&H Properties                                            Last 4 digits of account number                                                          $84,085.74
           Nonpriority Creditor's Name
           627 West Main Street                                      When was the debt incurred?
           Tupelo, MS 38804
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   judgment


 4.1
 4         Unifirst Corp.                                            Last 4 digits of account number                                                              $780.57
           Nonpriority Creditor's Name
           68 Jonspin Road                                           When was the debt incurred?
           Wilmington, MA 01887
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   services


 4.1
 5         US Foods, Inc.                                            Last 4 digits of account number                                                          $24,000.00
           Nonpriority Creditor's Name
           9399 West Higgins Road, Ste 500                           When was the debt incurred?
           Des Plaines, IL 60018
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   judgment

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.



Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                          Page 6 of 8
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 Debtor 1 Antonio Barragan
 Debtor 2 Erica L Barragan                                                                                Case number (if know)          18-12591

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Baker, Donelson, Bearman,                                     Line 4.10 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Caldwell                                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 & Berkowitz, PC
 PO Box 14167
 Jackson, MS 39236
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 CST Co.                                                       Line 4.12 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 33127                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Louisville, KY 40232
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Law Offices of Libby & Nahmias                                Line 4.3 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 5384 Poplar Ave Ste 410                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 Memphis, TN 38119
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Mendelson Law Firm                                            Line 4.15 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 17235                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Memphis, TN 38187
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Mendelson Law Firm                                            Line 4.8 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 17235                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Memphis, TN 38187
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Performance Food Group                                        Line 4.8 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 506 Hwy 35 North                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 Batesville, MS 38606
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Riley, Caldwell, Cork & Alvis                                 Line 4.13 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 207 Court Street                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 Tupelo, MS 38804
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Vericore                                                      Line 4.14 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 10115 Kincey Ave Ste 100                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Huntersville, NC 28078
                                                               Last 4 digits of account number


 Part 4:      Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                           0.00
        Total
      claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                          6b.       $                    15,561.39
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                         0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                         0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                    15,561.39

                                                                                                                                Total Claim
                        6f.   Student loans                                                                 6f.       $                           0.00
         Total
       claims

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                              Page 7 of 8
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 Debtor 1 Antonio Barragan
 Debtor 2 Erica L Barragan                                                                           Case number (if know)   18-12591

  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                   6g.      $                   0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts       6h.      $                   0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount    6i.
                              here.                                                                            $             329,036.57

                        6j.   Total Nonpriority. Add lines 6f through 6i.                             6j.      $             329,036.57




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 8 of 8
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 Fill in this information to identify your case:

 Debtor 1                  Antonio Barragan
                           First Name                         Middle Name            Last Name

 Debtor 2                  Erica L Barragan
 (Spouse if, filing)       First Name                         Middle Name            Last Name


 United States Bankruptcy Court for the:               NORTHERN DISTRICT OF MISSISSIPPI

 Case number           18-12591
 (if known)                                                                                                                             Check if this is an
                                                                                                                                        amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
         No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


           Person or company with whom you have the contract or lease                   State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code

     2.1       C Spire Wireless                                                           Contract Type: service contract
               P.O. Box 159                                                               Description: two year cell phone service agreement
               Meadville, MS 39653                                                        Terms: $180.00 per month
                                                                                          Buyout: n/a
                                                                                          Interest: customer

     2.2       Heartland Industries                                                       Contract Type: lease purchase agreement
               1000 Ternes Drive                                                          Description: lease agreement on 18x32
               Monroe, MI 48182                                                           Terms: $180.00 per month
                                                                                          Buyout: Yes




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
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                                                                       Document      Page 32 of 60
 Fill in this information to identify your case:

 Debtor 1                   Antonio Barragan
                            First Name                           Middle Name        Last Name

 Debtor 2                   Erica L Barragan
 (Spouse if, filing)        First Name                           Middle Name        Last Name


 United States Bankruptcy Court for the:                 NORTHERN DISTRICT OF MISSISSIPPI

 Case number           18-12591
 (if known)                                                                                                                   Check if this is an
                                                                                                                              amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                    12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                             Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                      Check all schedules that apply:


    3.1         Bim Bam Burgers of Batesville, LLC                                                    Schedule D, line
                123 A File Road                                                                       Schedule E/F, line  4.6
                Batesville, MS 38606
                                                                                                      Schedule G
                                                                                                    Marlin Business Services Corp



    3.2         Bim Bam Burgers of New Albany                                                         Schedule D, line
                123 A File Road                                                                       Schedule E/F, line 4.7
                Batesville, MS 38606
                                                                                                      Schedule G
                                                                                                    Pawnee Leasing Corporation



    3.3         Bim Bam Burgers, LLC                                                                  Schedule D, line
                2204 Jackson Ave                                                                      Schedule E/F, line    4.15
                Oxford, MS 38655
                                                                                                      Schedule G
                                                                                                    US Foods, Inc.




Official Form 106H                                                              Schedule H: Your Codebtors                                 Page 1 of 2
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              Antonio Barragan
 Debtor 1 Erica L Barragan                                                                   Case number (if known)   18-12591


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
                                                                                                  Check all schedules that apply:
    3.4      Bim Bam Burgers, LLC                                                                   Schedule D, line
             2204 Jackson Ave                                                                       Schedule E/F, line  4.6
             Oxford, MS 38655
                                                                                                    Schedule G
                                                                                                  Marlin Business Services Corp



    3.5      Bim Bam Burgers, LLC                                                                   Schedule D, line
             2204 Jackson Ave                                                                       Schedule E/F, line 4.7
             Oxford, MS 38655
                                                                                                    Schedule G
                                                                                                  Pawnee Leasing Corporation



    3.6      Yerby Weaver                                                                           Schedule D, line
             3881 Sardis Lake Drive                                                                 Schedule E/F, line      4.15
             Batesville, MS 38606
                                                                                                    Schedule G
                                                                                                  US Foods, Inc.




Official Form 106H                                                            Schedule H: Your Codebtors                                 Page 2 of 2
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Fill in this information to identify your case:

Debtor 1                      Antonio Barragan

Debtor 2                      Erica L Barragan
(Spouse, if filing)

United States Bankruptcy Court for the:       NORTHERN DISTRICT OF MISSISSIPPI

Case number               18-12591                                                                       Check if this is:
(If known)
                                                                                                             An amended filing
                                                                                                             A supplement showing postpetition chapter
                                                                                                             13 income as of the following date:

Official Form 106I                                                                                           MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                     Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                     Employed
       attach a separate page with           Employment status*
       information about additional                                   Not employed                                 Not employed
       employers.
                                             Occupation            self employed                                self employed
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       none                                         none

       Occupation may include student        Employer's address
       or homemaker, if it applies.


                                             How long employed there?
                                                                              *See Attachment for Additional Employment Information

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1          For Debtor 2 or
                                                                                                                             non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.     $              0.00       $            0.00

3.     Estimate and list monthly overtime pay.                                              3.    +$              0.00       +$           0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.     $           0.00              $      0.00




Official Form 106I                                                      Schedule I: Your Income                                                  page 1
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Debtor 1    Antonio Barragan
Debtor 2    Erica L Barragan                                                                      Case number (if known)    18-12591


                                                                                                      For Debtor 1            For Debtor 2 or
                                                                                                                              non-filing spouse
      Copy line 4 here                                                                     4.         $              0.00     $             0.00

5.    List all payroll deductions:
      5a.   Tax, Medicare, and Social Security deductions                                  5a.        $              0.00     $                0.00
      5b.   Mandatory contributions for retirement plans                                   5b.        $              0.00     $                0.00
      5c.   Voluntary contributions for retirement plans                                   5c.        $              0.00     $                0.00
      5d.   Required repayments of retirement fund loans                                   5d.        $              0.00     $                0.00
      5e.   Insurance                                                                      5e.        $              0.00     $                0.00
      5f.   Domestic support obligations                                                   5f.        $              0.00     $                0.00
      5g.   Union dues                                                                     5g.        $              0.00     $                0.00
      5h.   Other deductions. Specify:                                                     5h.+       $              0.00 +   $                0.00
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $                  0.00     $                0.00
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $                  0.00     $                0.00
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.        $      4,238.50         $        4,238.50
      8b. Interest and dividends                                                           8b.        $          0.00         $            0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.        $              0.00     $                0.00
      8d. Unemployment compensation                                                        8d.        $              0.00     $                0.00
      8e. Social Security                                                                  8e.        $              0.00     $                0.00
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.  $                    0.00   $                  0.00
      8g. Pension or retirement income                                                     8g. $                     0.00   $                  0.00
      8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $                  0.00

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $          4,238.50         $           4,238.50

10. Calculate monthly income. Add line 7 + line 9.                                     10. $              4,238.50 + $         4,238.50 = $           8,477.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                      0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                         12.    $          8,477.00
                                                                                                                                           Combined
                                                                                                                                           monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                         page 2
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Debtor 1    Antonio Barragan
Debtor 2    Erica L Barragan                                                     Case number (if known)   18-12591



                                                 Official Form B 6I
                                 Attachment for Additional Employment Information

Spouse
Occupation             Stocker
Name of Employer       Dollar Tree
How long employed      2 weeks
Address of Employer




Official Form 106I                                     Schedule I: Your Income                                              page 3
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Fill in this information to identify your case:

Debtor 1                 Antonio Barragan                                                                  Check if this is:
                                                                                                               An amended filing
Debtor 2                 Erica L Barragan                                                                      A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   NORTHERN DISTRICT OF MISSISSIPPI                                           MM / DD / YYYY

Case number           18-12591
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?

                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.
                                                   Fill out this information for   Dependent’s relationship to          Dependent’s    Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age            live with you?

      Do not state the                                                                                                                      No
      dependents names.                                                            Daughter                             10 years            Yes
                                                                                                                                            No
                                                                                   Daughter                             13 years            Yes
                                                                                                                                            No
                                                                                   Son                                  16 years            Yes
                                                                                                                                            No
                                                                                                                                            Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                            1,770.30

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                             0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                             0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                           200.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                             0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                             0.00



Official Form 106J                                                   Schedule J: Your Expenses                                                          page 1
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Debtor 1     Antonio Barragan
Debtor 2     Erica L Barragan                                                                          Case number (if known)      18-12591

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                 220.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                  11.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                 350.00
      6d. Other. Specify: Pest treatment                                                     6d. $                                                  40.00
7.    Food and housekeeping supplies                                                           7. $                                                550.00
8.    Childcare and children’s education costs                                                 8. $                                                 60.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                225.00
10.   Personal care products and services                                                    10. $                                                 150.00
11.   Medical and dental expenses                                                            11. $                                                 150.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 200.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                 100.00
14.   Charitable contributions and religious donations                                       14. $                                                 173.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                    0.00
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                  100.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify: estimated income taxes                                                        16. $                                              1,550.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                     0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                     0.00
      17c. Other. Specify:                                                                 17c. $                                                     0.00
      17d. Other. Specify:                                                                 17d. $                                                     0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                    0.00
      20b. Real estate taxes                                                               20b. $                                                    0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                    0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                    0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                    0.00
21.   Other: Specify:    Misc Expenses                                                       21. +$                                                250.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       6,099.30
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       6,099.30
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               8,477.00
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              6,099.30

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                              2,377.70

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
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                                                               United States Bankruptcy Court
                                                                     Northern District of Mississippi
            Antonio Barragan
 In re      Erica L Barragan                                                                                       Case No.      18-12591
                                                                                   Debtor(s)                       Chapter       13


                                                   BUSINESS INCOME AND EXPENSES
         FINANCIAL REVIEW OF THE DEBTOR'S BUSINESS                                (NOTE: ONLY INCLUDE information directly related to the business operation.)

PART A - GROSS BUSINESS INCOME FOR PREVIOUS 12 MONTHS:
          1. Gross Income For 12 Months Prior to Filing:                                                       $                   0.00
PART B - ESTIMATED AVERAGE FUTURE GROSS MONTHLY INCOME:
          2. Gross Monthly Income                                                                                                      $              69,300.00
PART C - ESTIMATED FUTURE MONTHLY EXPENSES:
          3. Net Employee Payroll (Other Than Debtor)                                                          $            17,500.00
          4. Payroll Taxes                                                                                                         0.00
          5. Unemployment Taxes                                                                                                    0.00
          6. Worker's Compensation                                                                                                 0.00
          7. Other Taxes                                                                                                      6,300.00
          8. Inventory Purchases (Including raw materials)                                                                  19,400.00
          9. Purchase of Feed/Fertilizer/Seed/Spray                                                                                0.00
          10. Rent (Other than debtor's principal residence)                                                                  7,943.00
          11. Utilities                                                                                                       3,400.00
          12. Office Expenses and Supplies                                                                                         0.00
          13. Repairs and Maintenance                                                                                           100.00
          14. Vehicle Expenses                                                                                                  200.00
          15. Travel and Entertainment                                                                                             0.00
          16. Equipment Rental and Leases                                                                                          0.00
          17. Legal/Accounting/Other Professional Fees                                                                          325.00
          18. Insurance                                                                                                         460.00
          19. Employee Benefits (e.g., pension, medical, etc.)                                                                     0.00
          20. Payments to Be Made Directly By Debtor to Secured Creditors For Pre-Petition Business Debts (Specify):

                  DESCRIPTION                                                                       TOTAL

          21. Other (Specify):

                  DESCRIPTION                                                                       TOTAL
                  paper & styrofoam supplies                                                        1,600.00
                  advertising                                                                       200.00
                  linens                                                                            200.00
                  POS fees                                                                          300.00
                  security system & monitoring                                                      200.00
                  cable & internet                                                                  700.00
                  online ordering app                                                               340.00
                  credit card processing fees                                                       860.00
                  bank charges                                                                      150.00
                  inpection & licensing fees                                                        275.00
                  airgas                                                                            200.00
                  Payroll company fees                                                              90.00
                  Ole Miss Express fees                                                             80.00

          22. Total Monthly Expenses (Add items 3-21)                                                                                  $              60,823.00




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PART D - ESTIMATED AVERAGE NET MONTHLY INCOME:
          23. AVERAGE NET MONTHLY INCOME (Subtract item 22 from item 2)                                           $              8,477.00




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 Fill in this information to identify your case:

 Debtor 1                    Antonio Barragan
                             First Name                     Middle Name             Last Name

 Debtor 2                    Erica L Barragan
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF MISSISSIPPI

 Case number              18-12591
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Antonio Barragan                                                      X   /s/ Erica L Barragan
              Antonio Barragan                                                          Erica L Barragan
              Signature of Debtor 1                                                     Signature of Debtor 2

              Date       July 20, 2018                                                  Date    July 20, 2018




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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 Fill in this information to identify your case:

 Debtor 1                  Antonio Barragan
                           First Name                       Middle Name                  Last Name

 Debtor 2                  Erica L Barragan
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF MISSISSIPPI

 Case number           18-12591
 (if known)                                                                                                                                  Check if this is an
                                                                                                                                             amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                4/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

               Married
               Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

               No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                  Dates Debtor 1             Debtor 2 Prior Address:                              Dates Debtor 2
                                                                 lived there                                                                     lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

               No
               Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

               No
               Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income             Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.         (before deductions
                                                                                    exclusions)                                                  and exclusions)

 From January 1 of current year until                Wages, commissions,                        $18,792.00           Wages, commissions,                  $9,600.00
 the date you filed for bankruptcy:                bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1
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 Debtor 1      Antonio Barragan
 Debtor 2      Erica L Barragan                                                                            Case number (if known)   18-12591

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income           Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.       (before deductions
                                                                                    exclusions)                                                and exclusions)

 For last calendar year:                             Wages, commissions,                          Unknown            Wages, commissions,               Unknown
 (January 1 to December 31, 2017 )                 bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business

 For the calendar year before that:                   Wages, commissions,                       $53,000.00            Wages, commissions,            $16,054.00
 (January 1 to December 31, 2016 )
                                                   bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


                                                     Wages, commissions,                       $668,251.00           Wages, commissions,                     $0.00
                                                   bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income           Gross income
                                                   Describe below.                  each source                    Describe below.             (before deductions
                                                                                    (before deductions and                                     and exclusions)
                                                                                    exclusions)
 For last calendar year:                           misc. tax credits                              $3,000.00
 (January 1 to December 31, 2017 )

 For the calendar year before that:                                                                    $0.00       Cashed in Retirement               $21,554.00
 (January 1 to December 31, 2016 )


 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
            No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                    individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?
                          No.      Go to line 7.
                          Yes    List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                          No.      Go to line 7.
                          Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.




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 Debtor 2      Erica L Barragan                                                                            Case number (if known)   18-12591

       Creditor's Name and Address                               Dates of payment            Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe

7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                                Dates of payment            Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                                Dates of payment            Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe      Include creditor's name

 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                                Nature of the case         Court or agency                         Status of the case
       Case number
       US Foods, Inc. v. Bim Bam                                 civil / collection         Circuit Court of Lafayette                 Pending
       Burgers, LLC et al                                        action                     County, MS                                 On appeal
       L17-518                                                                              1 Court House Square
                                                                                                                                       Concluded
                                                                                            Oxford, MS 38655
                                                                                                                                    Judgment granted

       Stewart Environmental                                     civil / collection         Count Court of Lee County,                 Pending
       Construction, Inc. v. Antioniao                           action                     MS                                         On appeal
       Barragan, Erica Lee Barragan, et al
                                                                                                                                       Concluded
       CV2018-000313
                                                                                                                                    Judgment granted

       Pawnee Leasing Corporation v                              civil / Collection         County Court of Union                      Pending
       Antoniao Barragan, et al                                  action                     County, MS                                 On appeal
       CV2017-038
                                                                                                                                       Concluded

                                                                                                                                    judgment granted

       T & H Properties, LLC v. Erica Lee                        civil / collection         County Court of Lee                        Pending
       Barragan                                                  action                     County, MS                                 On appeal
       CV2016-001044
                                                                                                                                       Concluded

                                                                                                                                    judgment gran ted




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 Debtor 2      Erica L Barragan                                                                            Case number (if known)    18-12591

       Case title                                                Nature of the case         Court or agency                          Status of the case
       Case number
       Marlin Business Bank v. Antonio                           civil / colleciton         Philadelphia County Court                   Pending
       Barragan                                                  action                     of Common Plea                              On appeal
       000248
                                                                                                                                        Concluded

                                                                                                                                     judgment granted


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
       Creditor Name and Address                                 Describe the Property                                        Date                        Value of the
                                                                                                                                                             property
                                                                 Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
            No
            Yes. Fill in the details.
       Creditor Name and Address                                 Describe the action the creditor took                        Date action was                Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes

 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
            No
            Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                     Describe the gifts                                      Dates you gave                    Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
        No
            Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                 Describe what you contributed                           Dates you                         Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)
       Mt. Gillian Baptist Church                                     weekly tithes and offerings                             weekly at $40                $4,160.00
       Batesville, MS                                                                                                         over 2 years




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 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your         Value of property
       how the loss occurred                                                                                                  loss                              lost
                                                            Include the amount that insurance has paid. List pending
                                                            insurance claims on line 33 of Schedule A/B: Property.

 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                   Date payment                Amount of
       Address                                                        transferred                                             or transfer was              payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       Gambrell & Associates, PLLC                                    $2060.00; $310.00 applied to court                      2/19/2018 to                $2,060.00
       101 Ricky D Britt Sr Blvd., Ste 3                              costs and $1,750.00 to attorney's fees                  6/26/2018
       Oxford, MS 38655


       DebtorCC                                                       credit counseling certificate                           6/25/2018                       $14.95
       001 Debtorcc, Inc.
       372 Summit Avenue
       Jersey City, NJ 07306


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                   Date payment                Amount of
       Address                                                        transferred                                             or transfer was              payment
                                                                                                                              made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
            No
            Yes. Fill in the details.
       Person Who Received Transfer                                   Description and value of                  Describe any property or          Date transfer was
       Address                                                        property transferred                      payments received or debts        made
                                                                                                                paid in exchange
       Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
            No
            Yes. Fill in the details.
       Name of trust                                                  Description and value of the property transferred                           Date Transfer was
                                                                                                                                                  made



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 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
            No
            Yes. Fill in the details.
       Name of Financial Institution and                         Last 4 digits of              Type of account or       Date account was             Last balance
       Address (Number, Street, City, State and ZIP              account number                instrument               closed, sold,            before closing or
       Code)                                                                                                            moved, or                         transfer
                                                                                                                        transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                  Who else had access to it?             Describe the contents               Do you still
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City,                                             have it?
                                                                      State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
       Name of Storage Facility                                       Who else has or had access             Describe the contents               Do you still
       Address (Number, Street, City, State and ZIP Code)             to it?                                                                     have it?
                                                                      Address (Number, Street, City,
                                                                      State and ZIP Code)

       AAA Storage                                                    Debtor 1                               Items shown on Exhibit "B",            No
       Batesville, MS 38606                                                                                  "C" and "D" to Schedule A/B            Yes


 Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                   Where is the property?                 Describe the property                            Value
       Address (Number, Street, City, State and ZIP Code)             (Number, Street, City, State and ZIP
                                                                      Code)

       Coca-cola National                                             the operation of Bim Bam               Fountan Drink Machine                      Unknown
                                                                      Burgers
                                                                      2204 Jackson Ave.
                                                                      Oxford, MS 38655


 Part 10:      Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

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24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                   Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City, State and      know it
                                                                      ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                                   Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City, State and      know it
                                                                      ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
       Case Title                                                     Court or agency                            Nature of the case                   Status of the
       Case Number                                                    Name                                                                            case
                                                                      Address (Number, Street, City,
                                                                      State and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                A member of a limited liability company (LLC) or limited liability partnership (LLP)

                A partner in a partnership

                An officer, director, or managing executive of a corporation

                An owner of at least 5% of the voting or equity securities of a corporation

            No. None of the above applies. Go to Part 12.

            Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                             Describe the nature of the business                  Employer Identification number
       Address                                                                                                        Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)                Name of accountant or bookkeeper
                                                                                                                      Dates business existed
       Bim Bam Burgers, LLC                                      restaurant                                           EIN:       XX-XXXXXXX
       P.O. Box 1237
       Oxford, MS 38655                                          Marilyn Moake                                        From-To    June 17, 2013 to May 1, 2018

       Bim Bam Burgers & Wings, Inc.                             restaurant                                           EIN:       XX-XXXXXXX
       P.O. Box 1237
       Oxford, MS 38655                                                                                               From-To    to 2018

       Square Taco, LLC                                          restaurant                                           EIN:       XX-XXXXXXX
       2204 Jackson Ave
       Oxford, MS 38655                                                                                               From-To


       Square Cafe, LLC                                          restaurant                                           EIN:
       2204 Jackson Ave
       Oxford, MS 38655                                                                                               From-To




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        Business Name                                            Describe the nature of the business             Employer Identification number
        Address                                                                                                  Do not include Social Security number or ITIN.
        (Number, Street, City, State and ZIP Code)               Name of accountant or bookkeeper
                                                                                                                 Dates business existed
        Antonio Barragan                                         restaurant                                      EIN:
        dba Bim Bam of Oxford
        2204 Jackson Ave.                                        Marilyn Moake                                   From-To      July 1, 2018 to present
        Oxford, MS 38655

        Bim Bam Burgers of Batesville,                           restaurant                                      EIN:         XX-XXXXXXX
        LLC
        P.O. Box                                                                                                 From-To


        Bim Bam Burgers of New Albany,                           restaurant                                      EIN:         XX-XXXXXXX
        LLC
        P.O. Box                                                                                                 From-To


        Bim Bam Burgers of Tupelo, Inc.                                                                          EIN:         XX-XXXXXXX
                                                                                                                 From-To


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

             No
             Yes. Fill in the details below.
        Name                                                     Date Issued
        Address
        (Number, Street, City, State and ZIP Code)

 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Antonio Barragan                                                    /s/ Erica L Barragan
 Antonio Barragan                                                        Erica L Barragan
 Signature of Debtor 1                                                   Signature of Debtor 2

 Date      July 20, 2018                                                 Date     July 20, 2018

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                  . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
 This notice is for you if:
                                                                                                  $245      filing fee
        You are an individual filing for bankruptcy,
        and                                                                                        $75      administrative fee

        Your debts are primarily consumer debts.                                          +        $15      trustee surcharge
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “incurred by an individual                                                    $335      total fee
        primarily for a personal, family, or
        household purpose.”                                                               Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their nonexempt
 The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
 individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
        Chapter 7 - Liquidation                                                           be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
        Chapter 11 - Reorganization                                                       repossess an automobile.

        Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                   for family farmers or                                                  certain kinds of improper conduct described in the
                   fishermen                                                              Bankruptcy Code, the court may deny your
                                                                                          discharge.
        Chapter 13 - Voluntary repayment plan
                   for individuals with regular                                           You should know that even if you file chapter 7 and
                   income                                                                 you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
 You should have an attorney review your
 decision to file for bankruptcy and the choice of                                            most taxes;
 chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




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        most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
        restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
        papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                   Code.

        fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
        death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
        motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                    the property is sold.
 can dismiss your chapter 7 case if it finds that you have
 enough income to repay creditors a certain amount.                                       Exemptions are not automatic. To exempt property,
 You must file Chapter 7 Statement of Your Current                                        you must list it on Schedule C: The Property You Claim
 Monthly Income (Official Form 122A–1) if you are an                                      as Exempt (Official Form 106C). If you do not list the
 individual filing for bankruptcy under chapter 7. This                                   property, the trustee may sell it and pay all of the
 form will determine your current monthly income and                                      proceeds to your creditors.
 compare whether your income is more than the median
 income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A–2).
                                                                                                      $1,167    filing fee
 If your income is above the median for your state, you
 must file a second form —the Chapter 7 Means Test                                           +          $550    administrative fee
 Calculation (Official Form 122A–2). The calculations on
                                                                                                      $1,717    total fee
 the form— sometimes called the Means Test—deduct
 from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
 certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
 unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




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        Read These Important Warnings

             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file.
             Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
             and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
             properly and protect you, your family, your home, and your possessions.

             Although the law allows you to represent yourself in bankruptcy court, you should understand that
             many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
             or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
             following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

             Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
             20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
 Chapter 12: Repayment plan for family                                                    to repay your creditors all or part of the money that
             farmers or fishermen                                                         you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                   $200        filing fee                                                 years or 5 years, depending on your income and other
 +                  $75         administrative fee                                        factors.
                   $275        total fee
                                                                                          After you make all the payments under your plan,
 Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that are
 and fishermen to repay their debts over a period of time                                 not discharged and that you may still be responsible to
 using future earnings and to discharge some debts that                                   pay include:
 are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                            certain taxes,
             income
                                                                                                 debts for fraud or theft,

                   $235        filing fee                                                        debts for fraud or defalcation while acting in a
 +                  $75        administrative fee                                                fiduciary capacity,
                   $310        total fee
                                                                                                 most criminal fines and restitution obligations,
 Chapter 13 is for individuals who have regular income
 and would like to pay all or part of their debts in                                             certain debts that are not listed in your
 installments over a period of time and to discharge                                             bankruptcy papers,
 some debts that are not paid. You are eligible for
 chapter 13 only if your debts are not more than certain                                         certain debts for acts that caused death or
 dollar amounts set forth in 11 U.S.C. § 109.                                                    personal injury, and

                                                                                                 certain long-term secured debts.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 3
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                                                                                          A married couple may file a bankruptcy case
               Warning: File Your Forms on Time                                           together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
 Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
 you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
 creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
 general financial condition. The court may dismiss your                                  each spouse receive separate copies.
 bankruptcy case if you do not file this information within
 the deadlines set by the Bankruptcy Code, the                                            Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

 For more information about the documents and                                             The law generally requires that you receive a credit
 their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
 http://www.uscourts.gov/bkforms/bankruptcy_form                                          agency. 11 U.S.C. § 109(h). If you are filing a joint
 s.html#procedure.                                                                        case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
                                                                                          days before you file your bankruptcy petition. This
 Bankruptcy crimes have serious consequences                                              briefing is usually conducted by telephone or on the
                                                                                          Internet.
        If you knowingly and fraudulently conceal assets
        or make a false oath or statement under penalty                                   In addition, after filing a bankruptcy case, you generally
        of perjury—either orally or in writing—in                                         must complete a financial management instructional
        connection with a bankruptcy case, you may be                                     course before you can receive a discharge. If you are
        fined, imprisoned, or both.                                                       filing a joint case, both spouses must complete the
                                                                                          course.
        All information you supply in connection with a
        bankruptcy case is subject to examination by the                                  You can obtain the list of agencies approved to provide
        Attorney General acting through the Office of the                                 both the briefing and the instructional course from:
        U.S. Trustee, the Office of the U.S. Attorney, and                                http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html
        other offices and employees of the U.S.                                           .
        Department of Justice.
                                                                                          In Alabama and North Carolina, go to:
 Make sure the court has your mailing address                                             http://www.uscourts.gov/FederalCourts/Bankruptcy/
                                                                                          BankruptcyResources/ApprovedCredit
 The bankruptcy court sends notices to the mailing                                        AndDebtCounselors.aspx.
 address you list on Voluntary Petition for Individuals
 Filing for Bankruptcy (Official Form 101). To ensure                                     If you do not have access to a computer, the clerk of
 that you receive information about your case,                                            the bankruptcy court may be able to help you obtain
 Bankruptcy Rule 4002 requires that you notify the court                                  the list.
 of any changes in your address.




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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Northern District of Mississippi
             Antonio Barragan
 In re       Erica L Barragan                                                                                 Case No.      18-12591
                                                                                   Debtor(s)                  Chapter       13

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                  3,400.00
             Prior to the filing of this statement I have received                                        $                  1,750.00
             Balance Due                                                                                  $                  1,650.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):           Chapter 13 Plan

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Representation of the debtor in motions to modify the plan, motions to suspend the plan payments, objections to
                 claims, motions to avoid liens, motions to lift stay filed by creditors, and motions to dismiss filed by the trustee
                 or any creditors.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               The fee is limited to $800.00 above the amount stated above as the total fee. If the fees and expenses at the
               hourly rate or $250.00 per hour for attorney time and $85.00 per hour for paralegal time exceeds the stated fee by
               more than $800.00, then additional charges for fees and expenses will be submitted to the court for approval.
               This provision is placed in the the contract with the debtors Example, if the No-Look fee is $3,200.00, then no
               additional fees will be charged until the time and expenses in the case excees $4,000.00. This is done to comply
               with the provision that if contested matters result in the expenditure of an extraordinary amount of time, counsel
               may request an enhancement of the No-Look fee and Debtor will file a application requestin any additional fees
               along with detailed time sheet establishing the time expended resulting in the need for additional fees to
               compensate counsel for time and expenses exceeds the No-Look fee by more than $800.00.

                  Representation of the debtors in adversary proceedings such as complaints to strip second mortgages or
                  complaints to set aside pre-petition or post-petition taransfers are not included in the No-Look fee. Counsel will
                  charge fees in the same hourly rate as set forth above along with expenses incurred in the handling of the
                  Adversary Proceeding.

                  Actions in behalf of Debtor to recover preferential payments to judgment creditor on garnished funds, to recover
                  damages from creditors and other parties for violation of the Automatic Stay, for mortgage lender abuses and
                  other post-petition actions of creditors will be handled by counsel on a contingent fee basis, with counsel
                  recoverying 50% of the net recovery after payment of all expenses incurred in the litigation. Counsel will only be
                  paid the contingency fee in cases such as these upon the approval of said fees by the Court after notification to
                  all creditors and parties-in-interest.




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 In re       Erica L Barragan                                                                         Case No.     18-12591
                                                               Debtor(s)

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
                                             (Continuation Sheet)
                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     July 20, 2018                                                              /s/ Robert Gambrell
     Date                                                                       Robert Gambrell 4409
                                                                                Signature of Attorney
                                                                                Gambrell & Associates, PLLC
                                                                                101 Ricky D Britt Sr Blvd, Ste 3
                                                                                Oxford, MS 38655-4236
                                                                                662-281-8800 Fax: 662-202-1004
                                                                                rg@ms-bankruptcy.com
                                                                                Name of law firm




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                                                               United States Bankruptcy Court
                                                                     Northern District of Mississippi
            Antonio Barragan
 In re      Erica L Barragan                                                                            Case No.   18-12591
                                                                                    Debtor(s)           Chapter    13




                                               VERIFICATION OF CREDITOR MATRIX


The above-named Debtors hereby verify that the attached list of creditors is true and correct to the best of their knowledge.



 Date: July 20, 2018                                                     /s/ Antonio Barragan
                                                                         Antonio Barragan
                                                                         Signature of Debtor

 Date: July 20, 2018                                                     /s/ Erica L Barragan
                                                                         Erica L Barragan
                                                                         Signature of Debtor




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                        Acceptance Now
                        5501 Headquarters Drive
                        Plano, TX 75024


                        Baker, Donelson, Bearman, Caldwell
                        & Berkowitz, PC
                        PO Box 14167
                        Jackson, MS 39236


                        Bim Bam Burgers of Batesville, LLC
                        123 A File Road
                        Batesville, MS 38606


                        Bim Bam Burgers of New Albany
                        123 A File Road
                        Batesville, MS 38606


                        Bim Bam Burgers, LLC
                        2204 Jackson Ave
                        Oxford, MS 38655


                        C Spire Wireless
                        P.O. Box 159
                        Meadville, MS 39653


                        Capital One
                        P.O. Box 30281
                        Salt Lake City, UT 84130-0281


                        Credit One Bank
                        P.O. Box 60500
                        City Of Industry, CA 91716-0500


                        CST Co.
                        PO Box 33127
                        Louisville, KY 40232


                        First Heritage Credit
                        454 Hwy 6 E
                        Batesville, MS 38606


                        Frank Balton Sign Company
                        5385 Pleasant View Road
                        Memphis, TN 38134
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                    Heartland Industries
                    1000 Ternes Drive
                    Monroe, MI 48182


                    Jan Williams
                    131 Public Square
                    Batesville, MS 38606


                    Law Offices of Libby & Nahmias
                    5384 Poplar Ave Ste 410
                    Memphis, TN 38119


                    Macy's
                    Bankruptcy Processing
                    P.O. Box 8053
                    Mason, OH 45040


                    Marlin Business Services Corp
                    c/o Edward R. Dietz, Esq
                    300 Fellowship Road
                    Mount Laurel, NJ 08054


                    Mechanics Bank
                    P.O. Box 707
                    Water Valley, MS 38965


                    Mendelson Law Firm
                    P.O. Box 17235
                    Memphis, TN 38187


                    MS Dept. of Revenue
                    Bankruptcy Section
                    P O Box 22808
                    Jackson, MS 39225-2808


                    Pawnee Leasing Corporation
                    3801 Automation Way No. 207
                    Fort Collins, CO 80525


                    Performance Food Group
                    506 Hwy 35 North
                    Batesville, MS 38606
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                    Performance Food Group, Inc.
                    PO Box 29269
                    Richmond, VA 23242


                    Red River Federal Credit Union
                    P.O. Box 3261
                    Shreveport, LA 71133


                    Riley, Caldwell, Cork & Alvis
                    207 Court Street
                    Tupelo, MS 38804


                    Southern BBQ
                    address unknown


                    Stewart Enviromental Construction, Inc.
                    2488 Mitchell Road
                    Tupelo, MS 38801


                    Synchrony Bank // Belk
                    Attn Bankruptcy Dept
                    PO Box 965060
                    Orlando, FL 32896


                    Sysco Memphis, LLC
                    4359 B.F. Goodrich, Blvd
                    Memphis, TN 38118


                    T&H Properties
                    627 West Main Street
                    Tupelo, MS 38804


                    Unifirst Corp.
                    68 Jonspin Road
                    Wilmington, MA 01887


                    US Foods, Inc.
                    9399 West Higgins Road, Ste 500
                    Des Plaines, IL 60018


                    Vericore
                    10115 Kincey Ave Ste 100
                    Huntersville, NC 28078
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                    Wells Fargo Dealer Services
                    P.O. Box 1697
                    Winterville, NC 28590


                    Yerby Weaver
                    3881 Sardis Lake Drive
                    Batesville, MS 38606
